                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                   No. 5:12-CV-714-D


LOUSHONDA MYERS, individually                     )
and on behalf of her minor children               )
C.M., A.M., and M.M.,                             )
                                                  )
                                 Plaintiffs,      )
                                                  )
                    v.                            )                     ORDER
                                                  )
THE STATE OF NORTH CAROLINA,                      )
et~.,                                             )
                                                  )
                                Defendants.       )


        On August 22, 2013, Loushonda Myers filed a notice of appe~ [D.E. 166] concerning this

court's order of August 16,2013. See [D.E. 164]. In that order, the court dismissed Myers's minor

children as plaintiffs and dismissed Myers's claims against certain defendants. See id. The court

~so   gave Myers leave to file an amended complaint. Id.

        On August 29, 2013, Myers filed a motion to stay the order of August 16, 2013, pending

her interlocutory appe~. See [D.E. 172]. The court has jurisdiction to consider the motion. See

Wolfe v. Clarke, 718 F.3d 277, 281 n.3 (4th Cir. 2013). The court grants Myers's motion to stay

[D.E. 172] pending her interlocutory     appe~.       She need not file an amended complaint until the

United States Court of Appe~s for the Fourth Circuit resolves her interlocutory appe~.

        OnAugust30, 2013, defendants Steven W~erand W~erLawFirm,PLLC (collectively,

"W~er defendants")       moved for a certification pursuant to Feder~ Ru1e of Civil Procedure 54(b).

Pursuant to Ru1e 54(b), the court "may direct entry of a fin~ judgment as to one or more, but fewer

than ~1, claims or parties only if the court expressly determines that there is no just reason for delay."




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Fed. R. Civ. P. 54(b). Rule 54(b) certification "is recognized as the exception rather than the norm"

and "must be reserved for the unusual case in which the costs and risks of multiplying the

proceedings and overcrowding the appellate docket are outbalanced by pressing needs ofthe litigants

for early and separate judgment as to some claims or parties." Braswell Shipyards. Inc. v. Beazer

E .. Inc., 2 F.3d 1331, 1335 (4th Cir. 1993); see Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1,

10-11 (1980). The party moving for Rule 54(b) certification has the burden of showing that

certification is warranted. See Braswell Shipyards, 2 F.3d at 1335. The Walker defendants have not

shown that Rule 54(b) certification is warranted. They have not shown a "pressing need,, for early

and separate judgment, and the interest of efficient judicial administration would best be served by

allowing the resolution of all pending claims before an appeal is taken. Thus, the motion is denied.

       In sum, the court GRANTS Myers,s motion to stay [D.E. 172] and DENIES the Walker

defendants' motion for Rule 54(b) certification [D.E. 171].

       SO ORDERED. This _f_day of October 2013.




                                                            United States District Judge




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